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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NARCISO FUENTES,                                    Case No. 16-cv-02001-JSW
                                                         Plaintiff,
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                                                                                             ORDER CONTINUING CASE
                                                  v.                                         MANAGEMENT CONFERENCE AND
                                   9
                                                                                             REQUIRING PARTIES TO MEET AND
                                  10     DISH NETWORK L.L.C.,                                CONFER
                                                         Defendant.                          Re: Dkt. No. 173
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has received and considered the parties’ joint case management conference

                                  14   statement. The Court CONTINUES the case management conference scheduled for December 9,

                                  15   2022 to January 20, 2023 at 11:00 a.m. The parties shall continue to meet and confer, as that term

                                  16   is defined in the Northern District Civil Local Rules, regarding the issues of individual monetary

                                  17   relief, Plaintiff’s request to remand, and attorneys’ fees.

                                  18          The parties shall file an updated joint case management conference statement by January

                                  19   13, 2023 that addresses the issues above, including proposed briefing schedules on motions for to

                                  20   remand, for leave to file motions for reconsideration, and for attorneys’ fees.

                                  21          IT IS SO ORDERED.

                                  22   Dated: December 6, 2022

                                  23                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  24                                                     United States District Judge
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